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                                     In the Matter Of:

                               GUBAREV vs BUZZFEED
                                          17-cv-60426-UU




                                    DAVID KRAMER

                                    December 13, 2017




                                   Attorneys Eyes Only
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 ·1· · · · · · · MR. JIMENEZ:· And he is not going to produce
 ·2· · · · · that absent the Committee's agreement that that
 ·3· · · · · be produced.· But I would tell you for what it's
 ·4· · · · · worth, that the information that's contained in
 ·5· · · · · -- I have read it, the information that's
 ·6· · · · · contained in there is essentially the same that
 ·7· · · · · he would testify about in regard to the meetings
 ·8· · · · · and the document and the topics that you have got
 ·9· · · · · here.
 10· · · · · · · MR. FRAY-WITZER:· That's fine then.· Thank
 11· · · · · you.
 12· · · · · · · MR. JIMENEZ:· Sure.· But other than those two
 13· · · · · documents, that's all that there exists.· Meaning
 14· · · · · these that he has brought with him and that,
 15· · · · · those answers to the Senate Select Committee on
 16· · · · · Intelligence.
 17· · · · · · · MR. FRAY-WITZER:· At a break, I think we
 18· · · · · would like to take copies of the documents.
 19· · · · · · · MR. JIMENEZ:· Sure.· Um-um.
 20· ·BY MR. FRAY-WITZER:
 21· · · Q.· I would like to briefly review your background
 22· ·with you first.· So if you could tell me first what the
 23· ·-- what your highest level of education completed was?
 24· · · A.· I received a Master's from Harvard University in
 25· ·Soviet Studies in 1988.


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 ·1· · · Q.· And prior to that, where did you attend
 ·2· ·undergraduate?
 ·3· · · A.· Tufts University in Massachusetts.
 ·4· · · Q.· And what degree did you receive from Tufts?
 ·5· · · A.· Sorry, what degree?
 ·6· · · Q.· What degree?
 ·7· · · A.· A dual degree in Political Science and Soviet
 ·8· ·Studies in 1986.
 ·9· · · Q.· And after you received your graduate degree,
 10· ·where did you first go to work?
 11· · · A.· I stayed at Harvard affiliated with the Russian
 12· ·Research Center as a teaching fellow, and did some
 13· ·consulting work for Arthur D. Little, and -- which I
 14· ·think no longer exists, and did some teaching at UMass
 15· ·Boston, and then Clark University.
 16· · · Q.· And that brings us to approximately when?
 17· · · A.· 1993, summer.
 18· · · Q.· And after that, what was your next place of
 19· ·employment?
 20· · · A.· I moved to Washington and started at the Senate
 21· ·Floor Strategic and International Studies, CSIS as it's
 22· ·called.
 23· · · Q.· And what does CSIS do?
 24· · · A.· It's a think tank.· I worked in the Russia
 25· ·Eurasia Program.


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 ·1· · · Q.· And how long were you there?
 ·2· · · A.· Just about a year.· And then I moved from there
 ·3· ·to the Carnegie Endowment also in Washington in a
 ·4· ·similar kind of position.
 ·5· · · Q.· And just briefly, what is the Carnegie Endowment?
 ·6· · · A.· It's also a think tank.
 ·7· · · Q.· When did you leave the Carnegie Endowment?
 ·8· · · A.· Sorry, when?
 ·9· · · Q.· When did you leave the Carnegie Endowment?
 10· · · A.· The end of 1999.
 11· · · Q.· And what was your next place of employment?
 12· · · A.· I was temporarily affiliated with another think
 13· ·tank called The Project For New American Century, PNAC
 14· ·it was called, for two to three months, and then I was
 15· ·hired to be the executive director of the U.S. Advisory
 16· ·Commission on Public Diplomacy.
 17· · · Q.· And how long did you hold those positions?
 18· · · A.· The PNAC one was just until I started at the
 19· ·Advisory Commission, so that was two or three months in
 20· ·-- beginning in 2000, and then I was hired in April 2000
 21· ·at the U.S. Advisory Commission on Public Diplomacy.
 22· · · Q.· And how long did you hold that position?
 23· · · A.· A year until I was offered a position in the
 24· ·State Department.
 25· · · Q.· And what was that position?


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 ·1· · · A.· I was the Senior Advisor for the Undersecretary
 ·2· ·For Global Affairs for a little over two years, so from
 ·3· ·roughly June 2001 until October 2003.
 ·4· · · Q.· How did it come about that you went to work at
 ·5· ·the State Department?
 ·6· · · A.· Someone I had known, Paula Dobriansky,
 ·7· ·D-O-B-R-I-A-N-S-K-Y, was nominated and confirmed to be
 ·8· ·the Undersecretary For Global Affairs, I had known her
 ·9· ·previously, and she offered me the job to be her Senior
 10· ·Advisor.
 11· · · Q.· Okay.· And I'm sorry, I think you said you held
 12· ·that position for two years?
 13· · · A.· A little over two years.
 14· · · Q.· And what was your next position?
 15· · · A.· I became a Professional Staff Member in the
 16· ·Office of Policy Planning at the State Department, from
 17· ·roughly October 2003 'til June, July 2005.
 18· · · Q.· And did you have a particular area of expertise
 19· ·or portfolio as I guess they like to --
 20· · · A.· Yes, I had a responsibility for -- in that office
 21· ·for Russia, Ukraine, Eurasia.
 22· · · Q.· And you held that position for how long?
 23· · · A.· A little less than two years.· October 2003 'til
 24· ·I think it was July 2005.
 25· · · Q.· And your next position?


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 ·1· · · A.· I became the Deputy Assistant Secretary in the
 ·2· ·State Department in the Europe, Eurasia Bureau
 ·3· ·responsibile for Russia, Ukraine, Belarus, Moldova, as
 ·4· ·well as Nonproliferation Affairs.
 ·5· · · Q.· And, again, how long did you hold that position?
 ·6· · · A.· From July 2005 until March 2008.
 ·7· · · Q.· And what was your next position after that?
 ·8· · · A.· I was nominated and confirmed to be the Assistant
 ·9· ·Secretary for Democracy, Human Rights and Labor at the
 10· ·State Department.· And I held that job until
 11· ·January 20th, 2009.
 12· · · Q.· And after that position?
 13· · · A.· After that, I took a few months to figure out
 14· ·what to do, and was hired to be a Senior Transatlantic
 15· ·Fellow at the German Marshall Fund in Washington.· It's
 16· ·a research think tank organization.
 17· · · Q.· Does the German Marshall Fund have any particular
 18· ·political leaning in one direction or another?
 19· · · A.· I would say at that time it was pretty centrist.
 20· · · Q.· And how long did you stay in that position?
 21· · · A.· I was there from April 2009 until October 2010.
 22· · · Q.· And what was your next position after that?
 23· · · A.· I was the President of Freedom House for four
 24· ·years.
 25· · · Q.· And what was Freedom House?


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 ·1· · · A.· Actually, let me just say I was hired initially
 ·2· ·as Executive Director, that was the name of the title,
 ·3· ·and the title was changed, has become president.
 ·4· · · · · Freedom House is the oldest human rights
 ·5· ·organization in the United States, and it does analysis
 ·6· ·and advocacy programs.· To promote democracy and human
 ·7· ·rights around the world.
 ·8· · · Q.· Does it have a specific geographical focus or
 ·9· ·does it promote human rights sort of globally?
 10· · · A.· Globally.
 11· · · Q.· And you spent how long in that position?
 12· · · A.· October 2010 until November 2014.
 13· · · Q.· And what was your next position after that?
 14· · · A.· I went to the McCain Institute For International
 15· ·Leadership, which is based in Washington, D.C. though
 16· ·it's part of Arizona State University.· And I was a
 17· ·Senior Director there for Human Rights and Democracy.
 18· · · Q.· How did you come to work at the McCain Institute?
 19· · · A.· The executive director of it was a colleague of
 20· ·mine in the State Department, Kurt Volker, he and I
 21· ·remained friends after working together, and he was
 22· ·interested in having me join when I might have gotten
 23· ·tired of Freedom House, which I did.
 24· · · Q.· And how long did you work at the McCain
 25· ·Institute?


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 ·1· · · A.· November 2014 until early May of this year, 2017.
 ·2· · · Q.· And why did you leave the McCain Institute?
 ·3· · · A.· Because I had decided, I had been thinking about
 ·4· ·it for several years and decided to move down to Florida
 ·5· ·for family personal reasons.· And had also been thinking
 ·6· ·about a change anyway.· I had lived in D.C. for 24
 ·7· ·years.
 ·8· · · Q.· And are you currently employed?
 ·9· · · A.· Yes.
 10· · · Q.· And where are you currently employed?
 11· · · A.· Florida International University, which is here
 12· ·in Miami.
 13· · · Q.· And what is your position there?
 14· · · A.· I am a Senior Fellow in the Green School For
 15· ·International and Public Affairs in the Vaclav Havel
 16· ·Program for Human Rights -- Green School of
 17· ·International and Public Affairs in the Vaclav Havel, so
 18· ·it's V-A-C-L-A-V, Havel is H-A-V-E-L Program Human
 19· ·Rights and Diplomacy.
 20· · · Q.· Do you personally know Senator John McCain?
 21· · · A.· Yes.
 22· · · Q.· For how long have you known Senator McCain?
 23· · · A.· I first got to know him, I would say, when I was
 24· ·working at State Department, so I testified once or
 25· ·twice before the Senate Foreign Relations Committee, and


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·1· ·he was there, and I met him on a few occasions mostly in
·2· ·-- well, not mostly, in an official capacity when I was
·3· ·at the State Department.· That was the first engagement
·4· ·with him.
·5· · · Q.· And from that time forwards, can you describe
·6· ·what your relationship with Senator McCain has been?
·7· · · A.· I would see him at conferences.· He attends
·8· ·Halifax International Security Forum, which I am a
·9· ·member of the Board.· He has attended that since its
10· ·creation in 2009.· Not every year has he been there.
11· · · · · When I was at Freedom House, I met him a few
12· ·times representing Freedom House.· We gave him an award,
13· ·a leadership award, I think in 2013 if my memory serves
14· ·me correctly, for his support for the Magnitsky Act that
15· ·Congress past in 2012.
16· · · · · And then, when I joined the McCain Institute, or
17· ·even before I joined, there is something called a Sedona
18· ·Forum that the McCain Institute hosts, and he hosts a
19· ·cookout at his ranch in Sedona, and so I have been there
20· ·as well.
21· · · · · And so I have known him since I was in the State
22· ·Department.· I wouldn't say we have a close relationship
23· ·but we certainly know each other.
24· · · Q.· Do you know who Andrew Wood is?
25· · · A.· I do.


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·1· · · Q.· And can you tell me who Andrew Wood is?
·2· · · A.· Andrew Wood, Sir Andrew Wood, is a retired
·3· ·British diplomat who was Ambassador to Russia in the
·4· ·'90s, Ambassador to I think Yugoslavia.· I don't think
·5· ·it was just Serbia.· I think it was Yugoslavia.· He has
·6· ·been affiliated with Chatham House for a number of
·7· ·years, and that's where I first got to know him.
·8· · · Q.· And what is Chatham House?
·9· · · A.· Chatham House is a think tank in London.
10· · · Q.· And you said it was through Chatham House that
11· ·you first got to know Sir Andrew Wood?
12· · · A.· Yes.
13· · · Q.· Can you tell me how that came about?
14· · · A.· He and I have a common friend, and so she
15· ·introduced us, and I have been to a few conferences at
16· ·Chatham House in London, was introduced to him there, so
17· ·I would say we have known each other maybe four, five or
18· ·six years.
19· · · Q.· And since first being introduced to Sir Andrew
20· ·Wood, what has your relationship with him been like?
21· · · A.· It's been mostly sharing stories, articles.· He
22· ·and this friend of mine co-wrote a book together, and so
23· ·it has been mostly exchanging impressions about what's
24· ·happening in Russia.· He is a Russian expert.
25· · · Q.· What was the book that he wrote?


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·1· · · A.· It was with Lilia Shevtsova.· I don't remember
·2· ·the name.
·3· · · · · With Lilia Shevtsova, so it's L-I-L-I-A -- she --
·4· ·I mean, frankly, she doesn't need to come into this.
·5· · · · · So Shevtsova is S-H-E-V-T-S-O-V-A.· I don't
·6· ·remember the name of the book.
·7· · · Q.· And has Sir Andrew Wood appeared at the Halifax
·8· ·International Security Forum as well?
·9· · · A.· He was there last year and he was there again
10· ·this year.
11· · · Q.· With respect to his appearance last year, had you
12· ·invited him to the forum?
13· · · A.· Had I -- I don't do invitations to the forum.
14· ·Those are done by the forum in its Washington office.
15· ·Did I give them his name?· It's possible, I don't recall
16· ·exactly.· They may have gotten it independently of
17· ·anything I said.
18· · · Q.· If I am correct, he spoke on a panel that you
19· ·moderated at the 2016 forum; is that correct?
20· · · A.· Um.· I don't think so.· I'd have to go back and I
21· ·can easily check, but I don't recall that.· I don't know
22· ·that I moderated a panel.· I moderated a dinner at the
23· ·2016.
24· · · · · It's possible.· I honestly don't have a clear
25· ·recollection of it.


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·1· · · Q.· With respect to the dinner, and maybe I am using
·2· ·the wrong --
·3· · · A.· Yeah, so maybe it was a dinner.
·4· · · Q.· (Continuing.) -- terminology.
·5· · · · · A dinner --
·6· · · A.· Is off the record.
·7· · · Q.· A dinner discussion; is that correct?
·8· · · A.· Yes, every Saturday the forum had dinner
·9· ·discussions.
10· · · Q.· And you hosted or moderated a dinner discussion
11· ·in 2016; correct?
12· · · A.· Yes.· I don't remember the subject but, yes, I
13· ·did because I have been to all of them and I don't keep
14· ·them· clear in my mind.
15· · · Q.· And Sir Andrew Wood was part of the panel for
16· ·that dinner discussion; is that correct?
17· · · A.· I -- it's possible.· I honestly don't remember.
18· ·It's a distinct possibility.
19· · · Q.· You said that you brought with you today two
20· ·documents.· One is a copy of what has been called a
21· ·Dossier that was given to you, and another is an
22· ·unredacted form; is that correct?
23· · · · · · · MR. JIMENEZ:· Let's go back to the beginning
24· · · · · of the question.· Let's mark that as Attorneys'
25· · · · · Eyes Only from now on to the extent you are going


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·1· · · · · to start asking him about The Dossier, that
·2· · · · · subject matter.
·3· · · · · · · MS. BOLGER:· So sorry, can I have the
·4· · · · · question again.
·5· · · · · · · MR. FRAY-WITZER:· If you wouldn't mind
·6· · · · · reading it back.
·7· · · · · · · (Thereupon, the requested portion was read
·8· · · · · back by the reporter as above recorded.)
·9· · · A.· Yes.
10· ·BY MR. FRAY-WITZER:
11· · · Q.· When did you first learn about the existence of
12· ·The Memos that have been referred to as The Dossier?
13· · · A.· It was in the November 2016 Halifax International
14· ·Security Forum from Andrew Wood.
15· · · Q.· And to the best of your recollection, let's start
16· ·with where were you when Sir Andrew Wood informed you of
17· ·the existence of some memos?
18· · · A.· He, during a break in the conference, he pulled
19· ·me aside and said he was aware of information that he
20· ·thought I should be aware of and that Senator McCain
21· ·might be interested in.· So it was at the forum.· It was
22· ·the exact date was November 19th.
23· · · Q.· And --
24· · · A.· It was a Saturday.
25· · · Q.· I'm sorry.· And at the time that he pulled you


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·1· ·aside, was anyone else present for that conversation?
·2· · · A.· No.
·3· · · Q.· And what was your response to Sir Andrew Wood?
·4· · · A.· I listened to him and I said this seems serious
·5· ·enough that you should raise this and mention it with
·6· ·Senator McCain.
·7· · · Q.· What specifically had he told you in that first
·8· ·conversation that led you to feel that Senator McCain
·9· ·should be brought in?
10· · · A.· He told me he himself had not seen the material
11· ·but that he was -- he had been told that some
12· ·information had been gathered that pointed to possible
13· ·collusion and that there may have been compromising
14· ·election about President Elect Trump.· This was after
15· ·the election so it was President Elect Trump at that
16· ·point.
17· · · Q.· In that first conversation that you had, did he
18· ·tell you who had collected the information?
19· · · A.· Yes, not by name but, yes, he said it was a
20· ·former British Intelligence Officer, whom he knew.
21· · · Q.· Did you -- did you know Christopher Steele prior
22· ·to that date?
23· · · A.· I did not.
24· · · Q.· Did you know of Christopher Steele prior to that
25· ·date?


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·1· · · A.· I did not.
·2· · · Q.· So when Sir Andrew Wood told you that there was a
·3· ·former British Intelligence Officer who had collected
·4· ·information, you didn't know specifically who he was
·5· ·referring to; is that right?
·6· · · A.· Correct.
·7· · · Q.· What was the next step after that first
·8· ·discussion in pursuing or following up on your
·9· ·suggestion that Senator McCain be brought into the
10· ·conversation?
11· · · A.· I approached Senator McCain and said I have been
12· ·told of this information and that I thought it would be
13· ·appropriate for him to hear it directly from Sir Andrew,
14· ·and the Senator agreed to that.
15· · · Q.· Do you know if Senator McCain knew of Sir Andrew
16· ·Wood prior to that conversation?
17· · · A.· I don't believe -- if he knew of Sir Andrew Wood?
18· ·I don't believe so, no.
19· · · Q.· Was a meeting with the three of you arranged at
20· ·that point?
21· · · A.· Yes, and with The Senator's top staffer.
22· · · · · · · MS. BOLGER: Can I just ask you to keep your
23· · · · · voice up
24· · · A.· I'm sorry, with The Senator's top staffer, Chris
25· ·-- Christopher Brose, B-R-O-S-E.


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·1· ·BY MR. FRAY-WITZER:
·2· · · Q.· Did that meeting eventually occur?
·3· · · A.· Yes, it did.
·4· · · Q.· When did that meeting occur?
·5· · · A.· Later that afternoon, that Saturday,
·6· ·November 19th.
·7· · · Q.· Where did the meeting occur?
·8· · · A.· In a small meeting room that the Halifax forum
·9· ·has for various people if they need to have a private
10· ·conversation.
11· · · Q.· So other than yourself, Senator McCain, Sir
12· ·Andrew Wood, and The Senator's -- I'm sorry, was it a
13· ·name?
14· · · A.· Chris Brose, yeah.
15· · · Q.· (Continuing.) -- and Mr. Brose, was anyone else
16· ·present at that meeting?
17· · · A.· No.
18· · · Q.· And if you can tell us to the best of your
19· ·recollection what was said at that meeting?
20· · · A.· Sir Andrew basically said the same thing to
21· ·Senator McCain as he had said to me, which was he was
22· ·aware of this information that had been gathered that
23· ·raised the possibility of collusion and compromising
24· ·material on the President Elect.· And he explained that
25· ·he knew the person who gathered the information and felt


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·1· ·that the person was of the utmost credibility.
·2· · · Q.· Did he at that time mention Christopher Steele's
·3· ·name?
·4· · · A.· He may have.· I can't recall exactly.
·5· · · Q.· To the best of your --
·6· · · A.· I think he might have, yes.
·7· · · Q.· To the best of your recollection, did he give any
·8· ·additional detail about what was included in this
·9· ·information that had been gathered?
10· · · A.· He mentioned that there was the possibility of a
11· ·video that might have shown the President Elect in a
12· ·compromising situation.
13· · · Q.· Was he more specific than that?
14· · · A.· He mentioned that it was, if it existed, that it
15· ·was from a hotel in Moscow when President Elect, before
16· ·he was President Elect, had been in Moscow.
17· · · Q.· What was --
18· · · A.· Of a sexual nature.
19· · · Q.· What was The Senator's reaction to this?
20· · · A.· Senator listened very carefully.· He didn't
21· ·really have much in the way of reaction.· Sir Andrew
22· ·said that the person who gathered this was in London and
23· ·would be willing to meet.· And so The Senator turned to
24· ·me and asked me if I would go to London to meet with
25· ·what turned out to be Mr. Steele.


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·1· · · Q.· Were you surprised that The Senator had asked you
·2· ·to do this?
·3· · · A.· I don't recall being surprised one way or the
·4· ·other, but I agreed to do it.· And I did it in a
·5· ·personal capacity.· I flew there, using my own miles,
·6· ·and paid the airport fee out of my own pocket.
·7· · · Q.· Prior to your flying to London to meet with
·8· ·Mr. Steele, were there additional discussions to
·9· ·coordinate the logistics of your trip?
10· · · A.· Sorry, say -- prior to my going to meet
11· ·Mr. Steele, were there additional conversations about --
12· · · Q.· The logistics of your trip?
13· · · A.· The logistics.· Simply that I would be met.· Sir
14· ·Andrew told me that I would be met at the airport.
15· · · Q.· Did --
16· · · A.· And asked for my -- sorry, asked for my cellphone
17· ·number, which I took my cellphone with me.· That was the
18· ·way I was contacted upon arrival.
19· · · Q.· Did you have an understanding as to how the
20· ·meeting in London was going to progress?
21· · · A.· Before I left, no.
22· · · Q.· Had you ever seen Mr. Steele or a picture of
23· ·Mr. Steele at that point?
24· · · A.· No.
25· · · Q.· How did you intend to find Mr. Steele at the


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·1· ·London airport?
·2· · · A.· Sir Andrew told me I would be met at the airport,
·3· ·and upon arrival, I received a text message from
·4· ·Mr. Steele saying he was holding a Financial Times and
·5· ·was in a blue coat.
·6· · · · · Lot of people holding Financial Times in London,
·7· ·but anyway.
·8· · · Q.· Were you able to locate him based on that
·9· ·description?
10· · · A.· Yes.
11· · · Q.· Are you aware of a book that was recently
12· ·published by a Guardian reporter, Luke Harding?
13· · · A.· Yes.
14· · · Q.· Did you speak to Mr. Harding in connection with
15· ·that book?
16· · · A.· No, I did not.· I ordered the book but I have not
17· ·yet read it.
18· · · Q.· Mr. Harding's account of your meeting Mr. Steele
19· ·at the airport is almost identical to your account of
20· ·it.· Do you know where Mr. Harding would have received
21· ·those details?
22· · · A.· The Guardian had published these details after
23· ·The Dossier had been posted.· So I assume from his
24· ·colleagues.· I knew Luke Harding from a 2010 trip to
25· ·Ukraine but I have not really been in touch with him in


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·1· ·probably four or five, six years.
·2· · · Q.· Had you provided any of the details of your trip
·3· ·to London to any Guardian reporters?
·4· · · A.· I did, and it was supposed to have been off the
·5· ·record.
·6· · · Q.· And those are the details that ended up in
·7· ·Mr. Harding's book; is that accurate?
·8· · · A.· I don't know because I haven't read his book, but
·9· ·those were the details that wound up in the Guardian
10· ·report at the time in January.
11· · · Q.· So you arrived at -- am I correct, I'm sorry, was
12· ·it Heathrow Airport?
13· · · A.· Yes.
14· · · Q.· So you arrived at Heathrow Airport, you were able
15· ·to locate Mr. Steele.· What happened at that point?
16· · · A.· We went to his car, we drove to his home, I made
17· ·contact, he kindly let me take a shower there because I
18· ·had flown overnight.· And then we were in his family
19· ·room or living room, and he gave he some context about
20· ·what he had done.
21· · · Q.· What date was this?
22· · · A.· This was -- I have written these down.· This was
23· ·November 28th.
24· · · Q.· To the best of --
25· · · A.· Of 2016.· I'm sorry.


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·1· · · Q.· Thank you.
·2· · · · · To the best of your recollection, can you take us
·3· ·through what Mr. Steele told you during that meeting?
·4· · · A.· He said that he had been hired to look into
·5· ·Donald Trump's dealings in Russia, and that in the
·6· ·course of doing so, he came upon material that indicated
·7· ·that there were close ties between the Trump Campaign
·8· ·and various Russians, and the possibility of
·9· ·compromising material on Mr. Trump.
10· · · Q.· Did he tell you who had hired him?
11· · · A.· He did not.
12· · · Q.· At any point, did he tell you who had hired him?
13· · · A.· No.· It later became clear to me that GPS -- I'm
14· ·sorry, Fusion GPS had a relationship with him because I
15· ·met them the next day, but it was not clear to me that
16· ·they had hired Mr. Steele at that point.
17· · · Q.· Were you familiar with Mr. Steele's business or
18· ·of his business intelligence?
19· · · A.· No, before, no.
20· · · Q.· Did you at that meeting learn about his company?
21· · · A.· Yes, in the sense that they do research per
22· ·client request.
23· · · Q.· Did he tell you anything else about the company?
24· · · A.· No.· Other than he stressed to me that for the
25· ·integrity of his work and his own reputation, they do


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·1· ·not tailor the information they find for the client,
·2· ·they provide what they find and don't sugarcoat it or
·3· ·shape it one way or the other.· He said if they did
·4· ·that, that would destroy his business.
·5· · · Q.· Do you know if Sir Andrew Wood had any
·6· ·connections with Orbis?
·7· · · A.· To the best of my understanding, he may have been
·8· ·an advisor, informally possibly.· I don't know that he
·9· ·had a formal role with Orbis, but he knew Mr. Steele
10· ·from when Sir Andrew was in the British Foreign Service,
11· ·and Mr. Steele was working at MI6.
12· · · Q.· So in this first meeting, you are at Mr. Steele's
13· ·home, he has informed you generally as to what he has
14· ·been doing.· What happened next?
15· · · A.· He then said I should read the document, and he
16· ·gave me over -- probably over an hour to do so.
17· · · Q.· And when you say the document, what document are
18· ·we referring to?
19· · · A.· This was a compilation of memos that he had
20· ·produced based on the work that he and his firm had
21· ·done.
22· · · Q.· Do you know at that time how many memos he gave
23· ·you to review?
24· · · A.· It was not the last one at that point because
25· ·that one came in December.· So I would say it was


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·1· ·probably 16 different memos because I believe if I
·2· ·remember right there were 17 memos altogether.
·3· · · · · I can't swear to that but I think that's correct.
·4· · · Q.· And so you spent an hour reading The Memos.· What
·5· ·was your reaction to The Memos when you first read them?
·6· · · A.· I was not in a position to know whether it was
·7· ·accurate.· But what I read was rather alarming, and so I
·8· ·felt that if it was true or if parts of it were true
·9· ·even, that that would be a very disturbing thing to
10· ·discover.
11· · · Q.· After Mr. Steele gave you a chance to sit and
12· ·read the 15, 16 memos, did he discuss The Memos with
13· ·you?
14· · · A.· He asked me if I had questions, and I believe I
15· ·did, and I honestly don't remember what the questions
16· ·were at the time.· But he explained again that the
17· ·information he gathered was what he found, not what he
18· ·thought the client might want.· He stressed that point
19· ·to me several times.
20· · · Q.· Did he give you any information about how he had
21· ·gathered the information?
22· · · A.· He said that based on contacts he had and through
23· ·people he had used in the past, that he was able to
24· ·gather this information.
25· · · Q.· Did he give you any specifics about his sources?


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·1· · · A.· Yes.
·2· · · Q.· And what did he tell you?
·3· · · A.· He explained to me how the document was produced
·4· ·through the sources.
·5· · · Q.· Did he name the sources or did he describe them
·6· ·to you?
·7· · · A.· He -- there was a piece of paper in which the
·8· ·names were there.
·9· · · Q.· And did you see the piece of paper with the
10· ·names?
11· · · A.· I did.
12· · · Q.· Were any of the names people with whom you were
13· ·already familiar because of your background in Russia?
14· · · A.· Yes.
15· · · Q.· Did Mr. Steele tell you whether and to what
16· ·extent he had been able to verify the information he had
17· ·gathered?
18· · · A.· He explained that what was produced was that
19· ·needed to be corroborated and verified, he himself did
20· ·not feel that he was in a position to vouch for
21· ·everything that was produced in this.· But he felt that
22· ·based on the sources and based on his own company's
23· ·track record, he felt that at least he had the best
24· ·sources possible to provide information.
25· · · Q.· Did he tell you whether or not any of the sources


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·1· ·had been paid for information?
·2· · · A.· He did not mention any payment.· My impression is
·3· ·none of the sources was paid.
·4· · · Q.· Do you know if any of the direct sources used
·5· ·subsources, so the sources themselves went to other
·6· ·sources?
·7· · · A.· I do not know.
·8· · · Q.· Did Mr. Steele say anything about that?
·9· · · A.· No.
10· · · Q.· Did Mr. Steele ever tell you that some or any of
11· ·the information in The Memos was raw intelligence?· Did
12· ·he use those words?
13· · · A.· Yes, I believe he did, and I think based on his
14· ·own experience that was not a new thing for him.· His
15· ·experience having served in MI6.
16· · · Q.· What did you understand raw intelligence to be?
17· · · A.· Signal, human intelligence which has not been
18· ·corroborated or verified by other sources.
19· · · Q.· And I'm sorry if I am -- tell me if I am
20· ·misrepresenting.
21· · · A.· Sure.
22· · · Q.· But he told you that he had not himself verified
23· ·the information contained in The Memos; is that correct?
24· · · A.· Not all of the information.· Some of it I believe
25· ·he felt was verified, but I don't know which parts.


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·1· · · Q.· Did you go through the individual memos and
·2· ·discuss the information contained in those memos?
·3· · · A.· Not in detail.· There wasn't much more that he
·4· ·had to offer and say beyond what was produced in The
·5· ·Memos.
·6· · · Q.· After the first hour that you spent reading The
·7· ·Memos on your own, about how long did you spend
·8· ·discussing The Memos with Mr. Steele?
·9· · · A.· 30 to 60 minutes, and then we went to have lunch
10· ·at a local pub.· And we didn't talk about them there.
11· · · Q.· After you had lunch, did you return to his house?
12· · · A.· Briefly, and then he brought me to the airport
13· ·after that.
14· · · Q.· To the best of your recollection, is there
15· ·anything else you can tell us about the discussions with
16· ·Mr. Steele that you haven't already told us?
17· · · A.· He told me that he had been in touch with an FBI
18· ·person in Europe to share what he had found, and that he
19· ·was hopeful that the FBI would take a serious look at
20· ·this.· And he explained to me that he thought having
21· ·Senator McCain weigh in would be hopeful in terms of
22· ·giving the FBI additional prod to take this seriously.
23· ·And that's the reason I believe that through Sir Andrew
24· ·Wood he reached out to me.
25· · · Q.· Did you have an understanding at that time that


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·1· ·thing that you did in connection with The Memos?
·2· · · A.· Mr. Simpson contacted me, so the next day on the
·3· ·29th I met with him in his office where he gave me a
·4· ·copy of these two versions.
·5· · · Q.· Now, again, November 29th when Mr. Simpson gave
·6· ·you the documents, did they include what we have called
·7· ·The December Memo?
·8· · · A.· No.
·9· · · Q.· Were you aware at that time that Mr. Steele was
10· ·collecting information for a final Memo?
11· · · A.· I was under the impression that he was continuing
12· ·to do work and research in this area.· I didn't have a
13· ·reason to think that there would be another Memo
14· ·necessarily.
15· · · Q.· Had he specifically told you about any
16· ·information that he had gathered to that point that was
17· ·not included in The Memos that you were being provided?
18· · · A.· I'm sorry, sorry, say that again.· I was spacing
19· ·for a second, sorry.
20· · · · · · · MR. FRAY-WITZER:· Maybe we can have it read
21· · · · · back.
22· · · · · · · (Thereupon, the requested portion was read
23· · · · · back by the reporter as above recorded.)
24· · · A.· No, other than he said he was continuing to do
25· ·research and do work in this area, but there was nothing


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·1· ·Memos to the New York Times?
·2· · · A.· He did not tell me.
·3· · · Q.· Did he mention any discussions with the
·4· ·Washington Post?
·5· · · A.· He did not.
·6· · · Q.· Did he mention any discussions with Mother Jones
·7· ·Magazine?
·8· · · A.· Not to my knowledge, or recollection rather, no.
·9· · · Q.· Did he mention any discussions with CNN?
10· · · A.· No.
11· · · Q.· Did he mention any discussions with The Yahoo
12· ·News?
13· · · A.· I don't believe so, no.
14· · · Q.· Do you remember him mentioning discussions with
15· ·any other media outlet?
16· · · A.· Not to my recollection.
17· · · Q.· Did Mr. Simpson tell you who Fusion GPS's client
18· ·was?
19· · · A.· No.
20· · · Q.· Did he give you any information as to what
21· ·Fusion's involvement with gathering the information was?
22· · · A.· Not really, no.
23· · · Q.· When you left the meeting with Mr. Simpson, what
24· ·was the next thing that you did in connection with The
25· ·Memos?


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·1· · · A.· I arranged for a meeting with Senator McCain the
·2· ·next day, through Mr. Brose.
·3· · · Q.· And that meeting took place on November 30th; is
·4· ·that correct?
·5· · · A.· November 30, correct, yes.
·6· · · Q.· And what time did that meeting take place?
·7· · · A.· End of the day.· Five p.m. probably.
·8· · · Q.· Who was present at that meeting?
·9· · · A.· The senator and Mr. Brose and I.
10· · · Q.· And to the best of your recollection, what did
11· ·you tell The Senator?
12· · · A.· I shared with him the document, and he took some
13· ·time to review it, he asked me what I thought he should
14· ·do, and I suggested that he provide a copy of it to the
15· ·Director of the FBI and the Director of the CIA.
16· · · Q.· And do you know if he followed that advice?
17· · · A.· He has publicly acknowledged giving a copy to the
18· ·Director of the FBI.· He did so on December 9th.
19· · · Q.· Did Mr. Brose ask any questions during that
20· ·meeting?
21· · · A.· Not that I recall.
22· · · Q.· Did you communicate to The Senator that Mr.
23· ·Steele had represented that some of the information was
24· ·raw or unverified?
25· · · A.· Yes.


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·1· · · Q.· Again, to the best of your recollection, what
·2· ·were the words that you spoke and The Senator spoke with
·3· ·connection to The Dossier?
·4· · · A.· I said that I was not in a position to verify
·5· ·this.· I also informed him that I did not have a copy of
·6· ·any video which had been mentioned by Sir Andrew when he
·7· ·first raised this.· I indicated to him that Mr. Steele
·8· ·indicated he did not have the video.· And I said I don't
·9· ·think any of us is in a position to verify, to
10· ·corroborate or refute this, that's why people who have
11· ·the means to do so should.· Meaning the FBI and CIA.
12· · · · · And I said that Mr. Steele himself seemed to be
13· ·credible and believable, but that he himself had
14· ·acknowledged he was not in a position on his own to
15· ·verify everything in there.
16· · · Q.· Had there been any discussions with Mr. Steele
17· ·about whether or not he was attempting to obtain the
18· ·video?
19· · · A.· He was interested in getting it but did not know
20· ·how to.
21· · · Q.· In your conversations with Senator McCain, did
22· ·you mention any of Alex Gubarev, Webzilla or XBT
23· ·Holdings?
24· · · A.· No, I did not.
25· · · Q.· How did your meeting with The Senator conclude?


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·1· · · A.· He had not read the whole thing but had read
·2· ·parts of it and indicated that he would think about what
·3· ·to do and would probably go see Director Comey.
·4· · · Q.· Did you have further discussions with Senator
·5· ·McCain about The Memos?
·6· · · A.· With The Senator, no.· With Mr. Brose I did, and
·7· ·he was the one who informed me that The Senator gave it
·8· ·to Director Comey.
·9· · · Q.· And when did he inform you of that?
10· · · A.· It may have been the day it happened.
11· ·December 9th.· 9th, yeah, which was a Friday.· I think
12· ·it was that day.
13· · · · · He told me that The Senator went on his own
14· ·without any staff to meet with the Director.
15· · · · · And -- sorry, and he did not get any readout from
16· ·The Senator on the meeting, but just that it had
17· ·happened.
18· · · Q.· Did you have any other discussions with
19· ·Mr. Brose concerning The Memos?
20· · · A.· Just I was occasionally checking with him on
21· ·whether The Senator had been in touch with Director
22· ·Comey.
23· · · Q.· After you learned that The Senator had spoken
24· ·with Director Comey, were there any conversations with
25· ·Mr. Brose after that point in time?


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·1· · · A.· There were a few that I had just checking on what
·2· ·The Senator thought, and he didn't have much readout
·3· ·because after The Senator met with Director Comey, it
·4· ·was not long after that that the Senate went in recess,
·5· ·so he was in Arizona most of the rest of the month.
·6· · · Q.· After The Senator provided The Memos to Director
·7· ·Comey, did you have any additional conversations
·8· ·directly with The Senator about The Memos?
·9· · · A.· No.
10· · · Q.· Did you have additional conversations with either
11· ·Glenn Simpson or anyone at Fusion GPS?
12· · · A.· Sorry, conversations after I met with him --
13· · · Q.· Yes.
14· · · A.· (Continuing.) -- that first time on
15· ·November 29th?
16· · · Q.· Yes, correct.
17· · · A.· Yes, I saw him maybe two, three other times, and
18· ·was in touch with him maybe once, two, three times a
19· ·week after that.· And on, I don't know the exact date,
20· ·but he gave me the final Memo.· It was through
21· ·Mr. Simpson that I obtained the last Memo.· In-person in
22· ·Washington.
23· · · Q.· Before you obtained the final Memo, can you tell
24· ·us about each of the discussions that you say you had
25· ·with Mr. Simpson?· What was he telling you, what were


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·1· ·you saying to him?
·2· · · A.· It was mostly just to inform him about whether or
·3· ·not The Senator had transfer -- transmitted the document
·4· ·to the FBI.· Both he and Mr. Steele were -- I kept them
·5· ·apprised of whether The Senator was -- where The Senator
·6· ·was in terms of his contact with the FBI.
·7· · · Q.· Did you initiate those contacts with Mr. Simpson
·8· ·or did he initiate the contacts with you?
·9· · · A.· It was probably a combination.
10· · · Q.· Were you -- before you received the final memos,
11· ·were you given any information about continuing efforts
12· ·to gather information?
13· · · A.· Well, Mr. Steele had told me that he continued to
14· ·do research when I met him.· And so I was aware that he
15· ·continued to look into it.· I was not aware of whether
16· ·or not Mr. Simpson was doing so.
17· · · Q.· After your meeting in London with Mr. Steele, did
18· ·you have any further conversations with Mr. Steele?
19· · · A.· Yes.
20· · · Q.· What conversations were those?
21· · · A.· They were in the beginning mostly about the
22· ·status of Senator McCain's contact with Director Comey.
23· ·He was very interested to know where that stood.· And
24· ·then just to get a sense of if I was hearing anything in
25· ·Washington.


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·1· · · Q.· And you said in the beginning that was the nature
·2· ·of the conversations?
·3· · · A.· Right.
·4· · · Q.· Did the conversations change at some point?
·5· · · A.· Well, after I told him that The Senator gave the
·6· ·documents to Director Comey, there wasn't any further
·7· ·questioning about where the status was.· He did ask me
·8· ·several times if I was aware of any further follow-up
·9· ·from The Senator or anything further from the FBI with
10· ·The Senator, and I was not aware of anything further.
11· · · Q.· Up until, let's say, December 10th when you
12· ·understood that The Senator had gone to Director Comey,
13· ·had you yourself had any communications with media
14· ·outlets about The Memos?
15· · · A.· December 10th?· I couldn't tell you exact dates,
16· ·but I was contacted by Mother Jones, and the Guardian,
17· ·and ABC News.· And then the Washington Post, there was a
18· ·reporter whom I had known, who we had been talking to
19· ·throughout The Campaign before I knew the existence of
20· ·this, and became clear to me that he was aware of the
21· ·document as well.
22· · · · · I'm trying to think if there were any others.
23· · · · · I was not in touch with New York Times.· And I
24· ·was in touch with McClatchy.
25· · · · · And also up until· · ·December 10th I think those


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·1· ·were the ones.· But most of the ones I mentioned
·2· ·contacted me.· How they knew my role, I don't know.· But
·3· ·I did not reach out to them.· But they were aware that I
·4· ·had given it to Senator McCain.
·5· · · Q.· You said most of those outlets contacted you.
·6· ·Were there any other outlets that you contacted
·7· ·yourself?
·8· · · A.· The person at McClatchy was someone I had been
·9· ·talking to throughout The Campaign and on Russia stuff
10· ·more broadly, and so it came up in the course of a
11· ·conversation.· Whether I initiated that conversation or
12· ·he did, I don't know, I don't recall.
13· · · Q.· Do you know with whom at Mother Jones you spoke?
14· · · A.· It was David Corn.· And I subsequently became
15· ·aware of an article he had written before the election
16· ·which I had not seen and did not know of before
17· ·receiving this.
18· · · Q.· And do you know approximately when David Korn
19· ·contacted you?
20· · · A.· It would have been early, mid-December.
21· · · Q.· And when David Korn reached out to you, what did
22· ·he say to you?
23· · · A.· He and Julian Borger came to meet me from the
24· ·Guardian, and they had been aware of the document.                 I
25· ·don't know whether they had it in their possession or


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·1· ·had read it, but they were certainly familiar with it.
·2· ·And so they were mostly interested in Senator McCain and
·3· ·his, whether he had given it to Director Comey or not.
·4· · · Q.· And did you inform them that he had?
·5· · · A.· I think the time I met them it was not clear yet
·6· ·whether he had.· It was before December 9th, so I assume
·7· ·the meeting with them must have been the beginning of
·8· ·December before The Senator had given it to Director
·9· ·Comey.
10· · · Q.· Was it just one meeting with Mother Jones or was
11· ·there a number of meetings?
12· · · A.· It was I believe just one meeting with them.                  I
13· ·was in touch with him a few times after that.· And then,
14· ·Julian Borger from the Guardian came to see me the day
15· ·that the document was posted on January 10th.· Literally
16· ·as we were talking, CNN broke the story, and then
17· ·Buzzfeed did.
18· · · Q.· Was there anyone other than Julian Borger at the
19· ·Guardian that you spoke with?
20· · · A.· No.
21· · · Q.· Was there anyone other than David Korn of Mother
22· ·Jones?
23· · · A.· No.
24· · · Q.· With whom did you speak at ABC News?
25· · · A.· With Matt Mosk who is a producer there.


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·1· · · Q.· And am I correct that he contacted you?
·2· · · A.· Correct.· I did not know him before.· I had never
·3· ·spoken to Korn or to Borger before any of this.
·4· · · Q.· And what did Mr. Mosk ask you?
·5· · · A.· M-O-S-K.· I don't think there is an E at the end.
·6· ·I think M-O-S-K.
·7· · · · · He must have contacted me before Senator McCain
·8· ·gave it to Comey because he initially asked me about the
·9· ·status with Senator McCain.
10· · · Q.· And was it one conversation with Mr. Mosk or a
11· ·number of conversations?
12· · · A.· No, there were a number of conversations with him
13· ·after.
14· · · Q.· What else did you discuss with Mr. Mosk?
15· · · A.· Just what I thought about the document, and if I
16· ·was aware of hearing anything else.
17· · · Q.· Were your conversations with him on the record or
18· ·off the record?
19· · · A.· Off the record.
20· · · Q.· Was the same true with Mother Jones and The
21· ·Guardian?
22· · · A.· Yes.
23· · · Q.· With whom did you speak at the Washington Post?
24· · · A.· With Tom Hamburger and Rosalind -- what's
25· ·Rosalind's last name?· Helderman.· And Tom was the one I


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·1· ·had been in touch with just before all of this talking
·2· ·about various things in The Campaign.
·3· · · Q.· What were your conversations with The Washington
·4· ·Post then?
·5· · · A.· Just my impressions of this and they were also
·6· ·interested in The Senator's handling of it.
·7· · · Q.· Did you know if The Washington Post had a copy of
·8· ·The Memos?
·9· · · A.· I didn't know whether they had a hard copy.· It
10· ·seemed clear to me that they had read it.· I don't know
11· ·whether they had been given a copy.
12· · · Q.· And did you know if ABC News had a copy of The
13· ·Memos?
14· · · A.· My impression was that they did, and in fact I
15· ·was shown a copy of it by Brian Ross at ABC.· Or not a
16· ·whole copy but I saw a first page of it.
17· · · Q.· Did you know if The Guardian had copies of The
18· ·Memos?
19· · · A.· I don't know whether they did or not.· It seemed
20· ·to me that they had seen it.· I don't know if they had
21· ·copies.
22· · · Q.· And do you know if Mother Jones had a copy of The
23· ·Memos?
24· · · A.· Same thing.· It was clear to me they had seen it.
25· ·I don't know if they had a copy.


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·1· · · Q.· And with whom did you speak at McClatchy?
·2· · · A.· It was Peter Stone and Greg Gordon I believe was
·3· ·the other person.· Peter was the one I had been talking
·4· ·to regularly about The Campaign more broadly.
·5· · · Q.· And do you know if they had a copy of The Memos?
·6· · · A.· Until they saw me, they did not.
·7· · · Q.· Did you provide them with a copy of The Memos?
·8· · · A.· I did.
·9· · · Q.· When did you do that?
10· · · A.· I believe it was before I released -- I received
11· ·the last Memo, so I believe the copy I gave them was
12· ·without that Memo.· So that would have been early
13· ·December, I would say.
14· · · · · I stressed to them that I was not in a position
15· ·to verify it.· They had heard about it, they did not
16· ·hear about it from me for the first time.· And I
17· ·stressed that I felt if they were going to look into it,
18· ·it needed to be either verified or refuted.
19· · · · · He subsequently, I would say in early January, he
20· ·being Peter Stone, asked if he could quote I think a
21· ·paragraph or two from it, and I said no.· And he did
22· ·not.
23· · · Q.· Did you provide a copy of The Memos to any other
24· ·media organization?
25· · · A.· I did.


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·1· · · Q.· To whom did you provide a copy of The Memos?
·2· · · A.· To a different person at the Washington Post.
·3· ·Fred Hiatt who was the editor of the editorial page.· He
·4· ·has been a friend of mine for a number of years.                 I
·5· ·provided it to him on the same basis, which was it had
·6· ·to be handled very carefully.· I was not able to verify
·7· ·it, and Fred understood that.
·8· · · · · I mentioned Peter Stone.
·9· · · · · I also provided a copy to Allan Cullison at The
10· ·Wall Street Journal whom I had known for many years.· On
11· ·the same basis.
12· · · · · And there were three others.· Two of whom
13· ·Mr. Steele asked me to meet with.· So maybe if you want,
14· ·I will deal with the last one first.
15· · · · · I gave a copy to Bob Little at NPR.· I believe
16· ·the day before it was all released.· And that was I felt
17· ·NPR I could trust.
18· · · · · Then, the other two were Buzzfeed and Carl
19· ·Bernstein.
20· · · · · Both of the meetings occurred at Mr. Steele's
21· ·request.
22· · · · · Carl, C-A-R-L, Bernstein.
23· · · · · I, you know, became aware that other journalists
24· ·either had seen it or had it.· I stressed to every
25· ·person I met the sensitivity of the document, the need


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·1· ·to verify or refute it, and not to publish it.· Unless
·2· ·or until that would be done.· And if it was refuted, it
·3· ·was obviously no reason to publish it.
·4· · · Q.· So I would like to sort of go through --
·5· · · A.· Sure.
·6· · · Q.· (Continuing.) -- the media outlets individually.
·7· · · A.· Um-um.
·8· · · Q.· Prior to providing a copy of The Memos to The
·9· ·Washington Post, had you informed Fusion or Mr. Simpson
10· ·that you intended do so?
11· · · A.· They were aware that I was giving it to Mr. Hiatt
12· ·at The Post.
13· · · Q.· Had they asked you to do so?
14· · · A.· No, but I felt that Fred was a person I could
15· ·trust, and they seemed to approve that.
16· · · Q.· Did you let Mr. Simpson know that you were giving
17· ·caveats and warnings to the people to whom you were
18· ·providing copies of The Memos?
19· · · A.· Yes.· I did the same to Mr. Steele.
20· · · Q.· And did Mr. Steele know that you were going to be
21· ·providing a cop of The Memo to The Washington Post?
22· · · A.· Yes.· Keep in mind it's a different division from
23· ·the news division, the editorial division.
24· · · · · Sorry, the news part already either had it or had
25· ·seen it.· Not from me.


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·1· ·Mr. Bensinger?
·2· · · A.· Not from me.
·3· · · Q.· On what date did you first meet Mr. Bensinger?
·4· · · A.· The first and only meeting was December 20 -- I'm
·5· ·sorry, December 29th.· Yes, December 29th.
·6· · · Q.· And where did you meet?
·7· · · A.· In the McCain Institute Office in Washington.
·8· · · Q.· Was anyone else present at that meeting?
·9· · · A.· No.· I believe the Institute was closed for the
10· ·holidays during that whole week, but I was there.
11· · · Q.· How long did the meeting last?
12· · · A.· The whole thing may have been 45 minutes to an
13· ·hour.
14· · · Q.· To the best of your recollection, I know it's
15· ·difficult, but can you tell me what Mr. Bensinger said
16· ·to you and what you said to him during that meeting?
17· · · A.· He reiterated what Mr. Steele had told me; that
18· ·he and Mr. Steele had been in touch during the FIFA
19· ·investigation; they got to know each other that way.                  I
20· ·don't know whether if it was in-person or not.
21· · · · · He said that they were very interested in this,
22· ·that they had heard about it, they had not heard about
23· ·it from me initially, and were interested in looking at
24· ·it and doing some investigative reporting on it.
25· · · Q.· What did you tell him about The Dossier?


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·1· · · A.· I explained to him how I became involved, just as
·2· ·I have explained to you.· That through Sir Andrew Wood
·3· ·and then to Senator McCain, and then there I was.
·4· · · Q.· Did you review The Memos with him?
·5· · · A.· I -- he said he wanted to read them, he asked me
·6· ·if he could take photos of them on his -- I assume it
·7· ·was an iPhone.· I asked him not to.· He said he was a
·8· ·slow reader, he wanted to read it.· And so I said, you
·9· ·know, I got a phone call to make, and I had to go to the
10· ·bathroom so I'll let you be because I don't read well
11· ·when people are looking at me breathing down my neck,
12· ·and so I left him to read for 20, 30 minutes.
13· · · Q.· Were you aware that he had taken pictures of The
14· ·Memos with his cellphone?
15· · · A.· Not until January 10th.
16· · · Q.· When he asked you if he could take pictures of
17· ·The Memos, why were you reluctant to allow him to do so?
18· · · A.· I said to him that even though I'm a bit of a
19· ·Luddite, I don't understand technology, I always worry
20· ·that things electronically like that could inadvertently
21· ·be spread around, and I said that that would not be
22· ·good.
23· · · Q.· Did Mr. Bensinger discuss with you the
24· ·possibility of publishing The Memos?
25· · · A.· No.


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·1· · · Q.· When you were explaining to Mr. Bensinger how it
·2· ·came to be that you were in possession of The Memos, did
·3· ·you talk to him at all about the unverified nature of
·4· ·the information in The Memos?
·5· · · A.· Yes.· I said to him what I had said to the
·6· ·others, which is I'm not in a position to verify or
·7· ·refute this, but that it seemed to me to be serious
·8· ·enough to be looked at in a professional way, and that
·9· ·professional journalists were arguably in a position to
10· ·look into the matter.· And I stressed to him the
11· ·sensitivity of it; that it had to be handled very
12· ·carefully.· And he agreed.
13· · · Q.· Did he ask you if he could quote from any of The
14· ·Memos in his reporting?
15· · · A.· No.· Not that I recall, no.
16· · · Q.· Did you explain to Mr. Bensinger what Mr. Steele
17· ·had said to you, that some of the information was
18· ·unverified?
19· · · A.· I'm sorry, say it again.
20· · · · · · · MR. FRAY-WITZER:· Why don't we just --
21· · · · · · · (Thereupon, the requested portion was read
22· · · · · back by the reporter as above recorded.)
23· · · A.· Yes.
24· ·BY MR. FRAY-WITZER:
25· · · Q.· If you had known that Mr. Bensinger was going to


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·1· · · A.· I believe my words were, "Holy shit."
·2· · · Q.· And did Mr. Borger have any reaction?
·3· · · A.· I think he may have echoed those words.
·4· · · Q.· Do you recall where you were when you first
·5· ·learned that Buzzfeed had published The Memos?
·6· · · A.· I had gone back to my office and received a call
·7· ·from Mr. Simpson who informed me that they had posted
·8· ·it.
·9· · · Q.· To the best of your recollection, what did
10· ·Mr. Simpson say specifically?
11· · · A.· There was a very short conversation that I
12· ·recall, and he simply said Buzzfeed has posted the
13· ·document.
14· · · Q.· And what was your reaction to that?
15· · · A.· I said I will call them and ask them to take it
16· ·down.
17· · · Q.· Did you do so?
18· · · A.· I called Mr. Bensinger, and my first words out of
19· ·my mouth were you are gonna get people killed.
20· · · Q.· What did Mr. Bensinger say?
21· · · A.· He said why?· How?· And I said by releasing this
22· ·-- I had not seen it at that point, but I said by
23· ·posting this, you will put people's lives in danger.                  I
24· ·said please take it down, or and he said they will try
25· ·to redact some of it.· I then called him back a second


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·1· ·time and asked him to not disclose my name at all.· And
·2· ·he said he would not do so.· These were very brief
·3· ·conversations.
·4· · · Q.· Did you subsequently speak with anyone else at
·5· ·Buzzfeed?
·6· · · A.· No.
·7· · · Q.· Up to the present day, have you spoken with
·8· ·anyone at Buzzfeed other than Ken Bensinger?
·9· · · A.· No.
10· · · Q.· Have you had additional conversations with
11· ·Mr. Simpson or anyone at Fusion concerning the
12· ·publication of The Memos?
13· · · A.· Since his name and his firm's name were
14· ·publicized, he explained to me that it was causing
15· ·considerable problems for him.· And I certainly
16· ·understood that.
17· · · Q.· After The Memos were published, did you have any
18· ·conversations with Mr. Steele?
19· · · A.· Yes.
20· · · Q.· What was the first of those conversations?
21· · · A.· The first was that evening, because it happened
22· ·late in the day.· I think CNN's report was about five
23· ·o'clock, and I think the Buzzfeed posting followed
24· ·within an hour, if I remember right.
25· · · · · He called me.· And then after that the next day I


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·1· · · · · Source/Attorneys' Eyes Only.)
·2· ·BY MR. FRAY-WITZER:
·3· · · Q.· And looking now at what has been marked as
·4· ·Plaintiffs' Exhibit number 3, can you tell me what that
·5· ·document is?
·6· · · A.· This is the unredacted version of the document
·7· ·that was given to me in two tranches.· Everything up
·8· ·until the last two pages was given to me on
·9· ·November 29th, and then the last two pages was given to
10· ·me separately, but it's compiled into one.
11· · · Q.· And is Exhibit number 3 a copy of the document
12· ·that was shown to Mr. Bensinger at your meeting?
13· · · A.· No, that version had highlights in it that I had
14· ·done.
15· · · Q.· Other than the omission of the highlights, is
16· ·this a same copy of the document?
17· · · A.· I believe there are three places that Buzzfeed
18· ·subsequently redacted from this unredacted version.· But
19· ·otherwise, this is the same thing.
20· · · Q.· And do you remember the date on which you met
21· ·with Ken Bensinger?
22· · · A.· I think it was December 29th.· It was a Thursday.
23· ·I'm pretty sure.· It was between the holidays.
24· · · · · · · Thereupon, The Highlighted Document was
25· · · · · marked Kramer Exhibit 4 for identification as of


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·1· · · · · this date, and is designated
·2· · · · · Confidential/Sensitive Source/Attorneys' Eyes
·3· · · · · Only.)
·4· ·BY MR. FRAY-WITZER:
·5· · · Q.· You have been handed what has been marked as
·6· ·Plaintiffs' Exhibit number 4.
·7· · · · · · · MR. FRAY-WITZER:· And for the benefit of
·8· · · · · counsel in the room, I will represent to everyone
·9· · · · · that it is an identical copy to what has been
10· · · · · handed to the witness other than the fact that
11· · · · · the witness' copy, because it is in color, shows
12· · · · · the highlighting.· And we can obviously get from
13· · · · · the reporter color copies, but the yellow
14· · · · · highlighting that appears on the witness' copy
15· · · · · does not appear on our copies, but it is an
16· · · · · identical copy.
17· ·BY MR. FRAY-WITZER:
18· · · Q.· Do you recognize the document that has been
19· ·provided to you?
20· · · · · · · MS. BOLGER:· Just for one second.· I would
21· · · · · like a copy of the version with highlighting.
22· · · · · · · MR. FRAY-WITZER:· Absolutely.
23· · · · · · · THE WITNESS:· I'm sorry?
24· · · · · · · MS. BOLGER: Just for the record, I would like
25· · · · · a copy with the version with the highlighting.


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·1· · · · · · · THE WITNESS:· I see.
·2· · · A.· And your question was?
·3· ·BY MR. FRAY-WITZER:
·4· · · Q.· Do you recognize this document?
·5· · · A.· Yes, I do.
·6· · · Q.· Is the yellow highlighting your highlighting?
·7· · · A.· Yes.
·8· · · Q.· And is that a copy of the document that was shown
·9· ·to Mr. Bensinger?
10· · · A.· Yes.
11· · · · · · · MR. FRAY-WITZER:· I have no further
12· · · · · questions.
13· · · · · · · · · ·CROSS-EXAMINATION
14· ·BY MS. BOLGER:
15· · · Q.· Hi, Mr. Kramer.
16· · · A.· Yes.
17· · · Q.· So I'm Kate Bolger and I represent the defendants
18· ·in this action.
19· · · · · I was going to talk to you about your background
20· ·but Mr. Fray-Witzer did a fine job.· The takeaway is of
21· ·course that you are a Russia exert; right?
22· · · A.· Yes.
23· · · Q.· And you have been a Russia expert since 1986;
24· ·right?
25· · · A.· Yeah.· To the extent anyone is an expert on


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·1· ·Russia, but, yes.
·2· · · Q.· And in 1986, it was still The Soviet Union?
·3· · · A.· Yes.
·4· · · Q.· So you have been studying the country since 1986
·5· ·when it was The Soviet Union?
·6· · · A.· Three decades.
·7· · · Q.· Through three decades, rise and falls of
·8· ·Oligarchs and Putins and things like that; right?
·9· · · A.· Yes.
10· · · Q.· And your professional, whole professional life
11· ·has largely been spent studying Russia; correct?
12· · · A.· Yes, Russia and the region, yes.· And U.S.-Russia
13· ·relations.
14· · · Q.· And you have written about it?
15· · · A.· Extensively including a book that was published
16· ·in August by the McCain Institute.
17· · · Q.· And in that book, you posit that Putin is
18· ·essentially the biggest threat to the Western World
19· ·currently; correct?
20· · · A.· Correct.
21· · · Q.· What is your basis for saying that?
22· · · A.· First, Russia is a nuclear superpower, has the
23· ·ability to attack us with massive force.
24· · · · · Second, Putin views the United States and the
25· ·West as a threat and challenge to his system,


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·1· ·authoritarian kleptocratic system.
·2· · · · · Three, he has shown no respect for the human
·3· ·rights of his own people.
·4· · · · · Four, he has shown no respect for the sovereign
·5· ·and the territorial integrity of his neighbors.
·6· · · · · Five, he shows no compunction about interfering
·7· ·in our election.
·8· · · · · I could probably go on, but that's a start.
·9· · · Q.· You once said that Putin was just in every
10· ·possible way a bad guy.· Would you agree?
11· · · A.· Yes.
12· · · Q.· You have also written about the hacking of the
13· ·Democratic National Committee by Russia; correct?
14· · · A.· Yes, not -- yes, including a letter that in July
15· ·of 2016 that I co-headed with other Republicans viewing
16· ·the hacking as a threat against the United States, not
17· ·against one party or the other, correct.
18· · · Q.· Can you explain that to me?· What did you say in
19· ·that letter?
20· · · A.· There were I think 25 of us who signed this open
21· ·letter to Members of Congress, who our view was that the
22· ·hacking was an attack against the U.S., not against the
23· ·Democratic Party, or it could be the Republican Party
24· ·another day.· And we called for Congressional
25· ·investigations because we felt it was an unprecedented


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·1· ·Experts, Members of Congress.· In the past Secretary
·2· ·Hagel, Secretary Defense Hagel was there.· I think he is
·3· ·the only Secretary of Defense.
·4· · · · · So it's a fairly senior high-level gathering of
·5· ·leading analysts officials.· And the Canadian Government
·6· ·is the host technically.
·7· · · Q.· And Sir Andrew Wood is one of those leading
·8· ·experts; correct?
·9· · · A.· In my view, yes.
10· · · Q.· Can you tell me about the reputation of Sir
11· ·Andrew Wood in the international security community?
12· · · A.· I think he is viewed in very high regard.· Since
13· ·he left the Foreign Service, he has written a number of
14· ·articles and contributed to reports by Chatham House,
15· ·which is a London-based think tank.· And he and a few
16· ·others and I trade e-mails about Russia and what's
17· ·happening there, and I have -- I hold him in the highest
18· ·regard.
19· · · Q.· And you respect his expertise when it comes to
20· ·Russia?
21· · · A.· Absolutely.
22· · · Q.· Sorry.· I want to talk just briefly about your
23· ·conversation with Mr. Wood in Halifax.
24· · · A.· Um-um.
25· · · Q.· I don't think you answered this question but I


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·1· ·apologize if you did.
·2· · · A.· Sure.
·3· · · Q.· How long was that?· How long was the meeting with
·4· ·Sir Andrew Wood, Senator McCain and you?· I am missing
·5· ·someone.
·6· · · A.· And Mr. Brose.
·7· · · Q.· And Mr. Brose?
·8· · · A.· 15 minutes, maybe.· It wasn't a long one.
·9· · · Q.· What is it in the nature of your relationship
10· ·with Senator McCain that made Mr. -- Sir Andrew Wood
11· ·think that you were a person to talk to if he wanted to
12· ·get to McCain, for lack of a better phrase?
13· · · A.· Sure.· He perhaps did not understand that even
14· ·though I worked at something called the McCain Institute
15· ·for International Leadership, that is separate from
16· ·Senator McCain's Office, that's part of Arizona State
17· ·University, though named after Senator McCain and his
18· ·family.· I believe that he felt that I was the best
19· ·person he knew to act as a conduit to get to Senator
20· ·McCain.
21· · · Q.· Do you know the basis -- do you know why he would
22· ·have thought that?· Is your reputation in the community
23· ·that you have access to Senator McCain?· What is the
24· ·basis for that?
25· · · A.· I assume it's because I have worked at the McCain


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·1· ·Institute that he concluded that.
·2· · · Q.· Okay.· And indeed you do have pretty quick access
·3· ·to Senator McCain; correct?
·4· · · A.· I did at the conference.· I wouldn't say outside
·5· ·of the conference I do, but I did at the conference
·6· ·certainly.
·7· · · Q.· Well, I mean, you did testify you were able to
·8· ·reach out with him and set a meeting immediately when
·9· ·you came back from London; correct?
10· · · A.· Yes, he knew I was going to be doing that based
11· ·on what we had discussed at Halifax.· So in other words,
12· ·if I tried to seek a meeting on a regular basis
13· ·unrelated to this, I might get it, I might not be able
14· ·to.
15· · · Q.· In --
16· · · A.· Probably would.
17· · · Q.· I'm sorry, say that again?
18· · · A.· I probably would be able to but maybe not
19· ·immediately.
20· · · Q.· Quicker than I could, for example?
21· · · A.· I don't know how quickly you can.
22· · · Q.· Not at all.
23· · · · · Did you -- sorry.· At that meeting, did Senator
24· ·McCain say anything?
25· · · A.· Yeah, as I mentioned, he turned to me and asked


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·1· ·me to go to London; he thanked Sir Andrew Wood for
·2· ·bringing the matter to his attention.· He took it
·3· ·seriously.· He said obviously he is not in a position
·4· ·based on what he heard to assess it one way or the
·5· ·other, but he thought it warranted a closer look, and
·6· ·that's why he asked me to go, to London.
·7· · · Q.· What was it in your conversation with Sir Andrew
·8· ·Wood that made you take the matter seriously enough to
·9· ·loop in Senator McCain?
10· · · A.· Sir Andrew's reputation, my familiarity with him,
11· ·and he is an expert, I think a well-renowned expert in
12· ·the field, and he struck me -- has struck me as somebody
13· ·who would not make something up simply to get a meeting
14· ·with Senator McCain.
15· · · Q.· And at the meeting in Halifax, The Senator had
16· ·the same reaction as you did to Sir Andrew Wood, which
17· ·is wow, I better take this seriously; correct?
18· · · A.· Correct.
19· · · Q.· Then you travelled to London; correct?
20· · · A.· Yes.· So the conference with Sir Andrew was on
21· ·November 19th, I traveled, I arrived in London
22· ·November 28th.
23· · · Q.· So you were -- you get to London essentially
24· ·within ten days of first hearing about this existence;
25· ·correct?


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·1· · · A.· Correct.· Yes.
·2· · · Q.· Did you learn anything about that in that interim
·3· ·period?
·4· · · A.· About The Dossier?
·5· · · Q.· About The Dossier.
·6· · · A.· No.
·7· · · Q.· Did you have any more contact with Sir Andrew
·8· ·Wood about The Dossier in that time?
·9· · · A.· Simply that I would be met at the airport, at
10· ·Heathrow.
11· · · Q.· No substantive conversation?
12· · · A.· No.
13· · · Q.· Just logistics?
14· · · A.· Correct.
15· · · Q.· Okay.· Great.
16· · · · · After the first meeting with Christopher Steele,
17· ·what was your impression of Christopher Steele?
18· · · A.· A serious man who knew some people I knew, so we
19· ·had some people in common that way.· Sir Andrew had
20· ·attested to his bona fides and I didn't come away
21· ·questioning that attestation.· And we talked a lot about
22· ·sort of what was happening at Russia more broadly.                 I
23· ·was impressed with his knowledge and his analysis.
24· ·Separate from discussion of The Dossier.· I also came
25· ·away thinking that he believed he was doing the right


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·1· ·thing, and that he started this by from a paid
·2· ·arrangement to explore and research what was going on
·3· ·between the Trump Campaign and Russia.· And then I came
·4· ·away impressed that he continued to do it even though
·5· ·the compensation appeared to have stopped.
·6· · · Q.· At the end of your interaction with Mr. Steele,
·7· ·did you take the allegations contained in this Dossier
·8· ·more seriously than you did when you were talking about
·9· ·it nebulously with Sir Andrew Wood in Halifax?
10· · · A.· Yes.
11· · · Q.· You told Mr. Fray-Witzer that Mr. Steele -- and I
12· ·wrote this down -- explained to you how the document was
13· ·produced through sources.· That's a rough quote of what
14· ·you said.
15· · · A.· Um-um.
16· · · Q.· Do you remember that?
17· · · A.· Um-um.
18· · · Q.· I do not want to know the sources and no question
19· ·I ask should be perceived as asking for that.
20· · · A.· Appreciate it.
21· · · Q.· So that's my ground rule.· But I do want to know
22· ·what you mean by that.· What do you mean by you came to
23· ·understand how the document was produced through the
24· ·sources?
25· · · A.· He explained to me how information represented in


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·1· ·The Dossier or the document was gathered, and he
·2· ·explained that the person who provided it to him did the
·3· ·best that that person could do to convey it as clearly
·4· ·as possible and as accurately as possible.
·5· · · Q.· Again, without telling me, do you know who the
·6· ·person was who presented him with the information?
·7· · · A.· The person who provided it directly?· I do not.
·8· ·No, that name I do not know.
·9· · · Q.· Is that one of his researchers?· Is that the
10· ·person?
11· · · A.· My understanding is that somebody he has worked
12· ·with in the past, but I don't know more than that.
13· · · Q.· Okay.· You also said that he had a piece of paper
14· ·on which the names were there.· What -- again, without
15· ·telling me the names --
16· · · A.· Yes.
17· · · Q.· (Continuing.) -- what did you mean by that?
18· · · A.· That there was identification of the sources.
19· · · Q.· On a piece of paper that was separate from The
20· ·Dossier?
21· · · A.· Correct.
22· · · Q.· And you knew some of the names; correct?
23· · · A.· I was familiar with -- I was certainly familiar
24· ·with one of the names and vaguely familiar with the
25· ·second.


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·1· · · Q.· How many names were there?
·2· · · A.· There were -- I believe there were five.
·3· · · Q.· And the person whose name you knew, what was your
·4· ·impression of that person as a source?
·5· · · A.· If that person was a source, it was a serious
·6· ·high-level source.
·7· · · Q.· And the second individual who you said you knew
·8· ·of rather than the person you knew?
·9· · · A.· Just knew the name.· I didn't have much more of
10· ·an impression on that.
11· · · Q.· Did you have an impression of whether that was a
12· ·serious high-level source?
13· · · A.· I would say yes, and the other -- two of the
14· ·other names also seemed to be serious if they were in
15· ·fact the sources.
16· · · Q.· So when you saw this piece of paper with the
17· ·listing of sources, did it bolster your belief in the
18· ·credibility of what Mr. Steele was saying?
19· · · A.· It did, but it was being past onto me second,
20· ·third-hand since there was an intermediary between those
21· ·sources and Mr. Steele, so I was getting it -- I guess
22· ·that would make it fourth-hand even, possibly.· But yes.
23· · · Q.· What about your interaction with -- you testified
24· ·a minute ago that you took The Dossier more seriously
25· ·after meeting with Mr. Steele than you had in Halifax.


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·1· ·What was it about your interaction with Mr. Steele that
·2· ·work that change in the way you thought about The
·3· ·Dossier?
·4· · · A.· Sir Andrew presented a fairly vague picture of
·5· ·what he had heard because he is not -- he had not seen
·6· ·it himself.· He mentioned the possibility of a video
·7· ·that Sir Andrew did.· And in broader terms, the
·8· ·possibility of collusion between The Campaign and
·9· ·Russia.
10· · · · · Since he did not have the actual document, I
11· ·wasn't sure what to make of what he was saying.                I
12· ·didn't think he was making something up.· Having seen
13· ·the actual Memos at the time and hearing from Mr. Steele
14· ·how it came about, that gave me more granularity.
15· · · Q.· I think you testified on direct-examination that
16· ·Steele did this, continued to investigate these
17· ·allegations in no small part because he thought that
18· ·they represented a real threat to America and Britain;
19· ·correct?
20· · · A.· Correct.
21· · · Q.· Did you join him in this -- in the thought that
22· ·these presented a real treat to the United States?
23· · · A.· I have always caveated my impression of them by
24· ·saying if they are true.· Because I'm not in a position
25· ·to vouch for them one way or the other, but I felt that


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·1· ·they were serious enough that they needed to be looked
·2· ·into in a serious professional way.
·3· · · Q.· In fact, you felt they needed to be looked into
·4· ·by the Federal Government; right?
·5· · · A.· Yes.· Yes.· That's why I recommended that step to
·6· ·Senator McCain to meet with Director Comey.· Which he
·7· ·may have done on his own, by the way, but --
·8· · · Q.· I won't accuse you of trying to take credit.
·9· · · · · When you talked to Mr. McCain about -- sorry,
10· ·Senator McCain, about your conversations with Mr.
11· ·Steele, did you convey to Senator McCain that you
12· ·believed that these were serious allegations that needed
13· ·to be investigated?
14· · · A.· I said to him that this was serious enough that
15· ·it needed to be looked into in a serious way, and that
16· ·if they were true and we did nothing with it, then
17· ·history would not look kindly upon us.
18· · · Q.· What did Senator McCain say in response to that?
19· · · A.· He agreed, he said he wants to do what the right
20· ·thing is.· And he was struggling with what that was, but
21· ·he seemed to agree that going to the FBI was the right
22· ·thing to do.· I don't think in the least that he viewed
23· ·this in political terms.
24· · · Q.· Nor did you; correct?
25· · · A.· Absolutely.· Absolutely.


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·1· · · Q.· In fact, you have publicly said Russia is a
·2· ·threat to the United States regardless of your political
·3· ·party; correct?
·4· · · A.· Correct.
·5· · · Q.· At the end of your conversation with Mr. Steele,
·6· ·did you want a copy of The Dossier?
·7· · · A.· If I was to go to Senator McCain with more detail
·8· ·about this, I had to have a copy, in my view.
·9· · · Q.· Was there any resistance from Mr. Steele in
10· ·giving it to you?
11· · · A.· He simply didn't want me to travel with it from
12· ·London back to Washington.· But he arranged for
13· ·Mr. Simpson to provide it to me upon my return.
14· · · Q.· And am I correct that it was always Mr. Steele's
15· ·intention that you would take this document to Senator
16· ·McCain; correct?
17· · · A.· Yes.
18· · · Q.· That was the ask?· The ask was take this document
19· ·to the Federal Government; correct?
20· · · A.· To bring it to Senator -- I'm not sure he -- I'm
21· ·not sure he knew what that next step was after bringing
22· ·it to Senator McCain.· I think he was going to rely on
23· ·Senator McCain's judgment to determine what was the best
24· ·next step.
25· · · Q.· He wanted it to get to the FBI; correct?


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·1· · · A.· Yes, but he had also been in touch with the FBI
·2· ·before, and I think he felt that Senator -- having
·3· ·Senator McCain provide it to the FBI would give it a
·4· ·little more oomph than it had had up until that point.
·5· · · Q.· With all due respect for Senator McCain's
·6· ·illustrious career , and I meant that sincerely, is
·7· ·there a particular reason that Senator McCain was the
·8· ·person that they were focussing on, rather than say
·9· ·Senator Schumer or Senator Corker or somebody, any one
10· ·particular person?
11· · · A.· I think they felt a senior Republican was better
12· ·to be the recipient of this rather than a Democrat
13· ·because if it were a Democrat, I think that the view was
14· ·that it would have been dismissed as a political attack.
15· · · Q.· So when you got back to the United States, you
16· ·met with Mr. Simpson; correct?
17· · · A.· Yes.· The next day.
18· · · Q.· The next day?
19· · · A.· Right.
20· · · Q.· Why so quickly?
21· · · A.· The feeling was that there was no reason to
22· ·delay.· Senator McCain was interested in receiving a
23· ·copy as soon as possible, and so and Mr. Steele and
24· ·Mr. Simpson seemed in agreement with that.
25· · · Q.· I keep knocking off my microphone in excitement.


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·1· ·the document?
·2· · · A.· It's possible.· I don't know.
·3· · · Q.· Did your conversations with Mr. Simpson affect in
·4· ·any way your belief in the credibility of The Dossier?
·5· · · A.· No.· No.
·6· · · Q.· You continued to take it seriously though after
·7· ·your conversation?
·8· · · A.· I did, correct.
·9· · · Q.· Okay.
10· · · A.· Very seriously.
11· · · Q.· What's the distinction between seriously and very
12· ·seriously?
13· · · A.· I felt it raised concerns, serious concerns that
14· ·needed to be looked at.
15· · · Q.· I mean, you have to have had some belief in its
16· ·credibility to talk to people about it; correct?
17· · · A.· I said to people that based on Mr. Steele's bona
18· ·fides, based on my understanding of Russian behavior,
19· ·under the Putin regime and questions about comments made
20· ·during The Campaign, those three things together didn't
21· ·prove this but certainly led to further reason to look
22· ·at it seriously.
23· · · Q.· You said that it was you who suggested that
24· ·Senator McCain talk to either the FBI or the CIA, and
25· ·that you then had several conversations with Mr. Brose


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·1· ·thereafter.· Did you initiate those calls with
·2· ·Mr. Brose?
·3· · · A.· I think probably in almost every case, yes.
·4· · · Q.· Did you say they were daily or almost daily?
·5· · · A.· I don't know that they were daily, but during
·6· ·that intervening period from November 30 when I met with
·7· ·Senator McCain and Mr. Brose and December 9th when he
·8· ·delivered it, they were pretty regular.· Maybe every
·9· ·other day.
10· · · Q.· Why call him every other day?
11· · · A.· I was curious if The Senator had provided it to
12· ·the FBI.· To the FBI Director, that is.
13· · · Q.· Because you were taking it seriously; correct?
14· · · A.· Correct, yes.
15· · · Q.· And what did Mr. Brose say in those conversations
16· ·about The Senator's?· Were they long conversations with
17· ·Mr. Brose?
18· · · A.· No, they were short.· They would be short.
19· ·Basically I would ask, you know, any update, any word,
20· ·and he would tell me one way or the other.
21· · · Q.· What did Mr. Brose think about it?
22· · · A.· I don't know.· I don't know.
23· · · Q.· Did you ever have any conversations in which
24· ·Mr. Brose commented on The Dossier?
25· · · A.· I mean, he would sit mostly quietly in the --


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·1· ·certainly in the meeting with Sir Andrew, he said
·2· ·nothing.· In the meeting in The Senator's office, I
·3· ·don't recall if Mr. Brose said anything.
·4· · · · · I have to give you a warning, I probably have to
·5· ·run to the bathroom soon, but go ahead.
·6· · · Q.· That's fine, I will let you do that.
·7· · · · · Did Mr. Brose ever communicate to you what The
·8· ·Senator was thinking in that intervening time period
·9· ·between when you talked to Senator McCain about giving
10· ·it to the FBI and when he ultimately did give it to the
11· ·FBI?
12· · · A.· What The Senator was thinking?
13· · · Q.· Yes.
14· · · A.· No.· Just that he believed that The Senator was
15· ·going to do what he said he was going to do.
16· · · Q.· Is it unusual for a senator, a United States
17· ·Senator, to walk over to the FBI Director's office and
18· ·hand them a document and say a I think you should
19· ·investigate this?
20· · · · · · · MR. FRAY-WITZER:· Objection.
21· · · A.· I don't know, is the honest answer.· Having never
22· ·worked on The Hill, I don't know.
23· ·BY MS. BOLGER:
24· · · Q.· Have you ever heard of it in any other context?
25· · · A.· No.


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·1· · · Q.· In your experience of interacting with Senator
·2· ·McCain, is that an unusual thing for Senator McCain to
·3· ·have done?
·4· · · A.· I have never had a conversation with him that
·5· ·would have come close to this kind of conversation.
·6· · · · · Will you permit me to run to the bathroom?
·7· · · Q.· I will, yes.
·8· · · A.· Thanks.· I will be right back.· I promise.
·9· · · · · · · THE VIDEOGRAPHER:· Off the record at 12:46.
10· · · · · · · (Thereupon, a brief recess was taken, after
11· · · · · which the following proceedings occurred.)
12· · · · · · · THE VIDEOGRAPHER:· On the record at 12:50.
13· ·BY MS. BOLGER:
14· · · Q.· Did you ever talk to anybody at the FBI about The
15· ·Dossier?
16· · · A.· No.
17· · · Q.· To your knowledge, did Mr. Brose ever talk to
18· ·anybody at the FBI about The Dossier?
19· · · A.· Not to my knowledge.
20· · · Q.· So after Senator McCain gave The Dossier to the
21· ·FBI, you testified that you saw Fusion two or three
22· ·other times and were in touch with them two or three
23· ·other times.
24· · · · · Why did you keep interacting with Fusion?
25· · · A.· One time was to receive the final two-page Memo,


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·1· ·which was after Senator McCain had provided the copy to
·2· ·Director Comey.· And then, there was just occasionally
·3· ·touching base just to see what was going on, comparing
·4· ·notes.
·5· · · Q.· Just to backtrack for one second.
·6· · · A.· Sure.
·7· · · Q.· Do you know substantively what Senator McCain
·8· ·said to Director Comey?
·9· · · A.· No, and not to the best of my knowledge neither
10· ·does Mr. Brose.· Mr. Brose told me that it was a
11· ·one-on-one meeting.· Mr. Brose was not at that meeting.
12· · · Q.· And he didn't?
13· · · A.· He did not get a readout.
14· · · Q.· For those of us who don't live or never lived in
15· ·The Beltway, what's a readout?
16· · · A.· A brief of what was discussed and transpired
17· ·during the meeting.
18· · · Q.· Have you heard from any other source what
19· ·happened in that meeting?
20· · · A.· No.
21· · · Q.· Have you ever asked Senator McCain that?
22· · · A.· No, I have not.
23· · · Q.· Okay.· So you said that one of your interactions
24· ·with Fusion was to get the last two pages of The
25· ·Dossier, the last Memo?


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·1· · · A.· Correct.
·2· · · Q.· And how did that come to be?
·3· · · A.· Mr. Steele called me to say that there was an
·4· ·additional Memo that I could receive through
·5· ·Mr. Simpson.
·6· · · Q.· And what did he say about The Memo?
·7· · · A.· He didn't talk about it in detail.· He simply
·8· ·said that there is two more pages for you to receive.
·9· · · Q.· Did he tell you or ask you to do anything with
10· ·those two pages?
11· · · A.· Not specifically.
12· · · Q.· Did you understand that he wanted you to give
13· ·them to Senator McCain?
14· · · A.· It occurred to me that that was a possibility,
15· ·and, in fact, he may have indicated that he hoped this
16· ·could also get to Senator McCain.
17· · · Q.· So did you then reach out to Fusion to get the
18· ·last two pages or did Fusion reach out to you?
19· · · A.· I honestly don't remember.· I'm not sure who
20· ·contacted whom.
21· · · Q.· And how did you actually get --
22· · · A.· I think Mr. Simpson contacted me.
23· · · Q.· How did you actually get The Memo?
24· · · A.· We met in downtown Washington.
25· · · Q.· Where did you meet?


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·1· · · A.· I think at Starbucks, near the Farragut North.
·2· ·The Farragut North.· It's an area in D.C.
·3· · · Q.· Was anybody carrying a copy of the Financial
·4· ·Times?
·5· · · A.· I am sure people were but I wasn't on the lookout
·6· ·for them.
·7· · · Q.· Did you -- did you sit down and read The Memo
·8· ·with Mr. Simpson in that coffee shop?
·9· · · A.· Yes.
10· · · Q.· And did you discuss it with Mr. Simpson?
11· · · A.· Not really.· I thanked him for giving it to me,
12· ·and added it to the compilation that I already had.
13· · · Q.· What were your impressions of The Memo?
14· · · A.· I didn't have major impressions one way or the
15· ·other.· It didn't strike me as anything significantly
16· ·new from what I had read before.
17· · · Q.· When you say from what you had read before, do
18· ·you mean --
19· · · A.· From the --
20· · · Q.· From The Dossier itself?
21· · · A.· Earlier parts of The Dossier, correct.
22· · · Q.· Just so we are clear, so what you are saying is
23· ·it did not strike you as anything different than what
24· ·you had read in the other parts of The Dossier; correct?
25· · · A.· Correct.


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·1· · · Q.· And you had the same reaction that it needed to
·2· ·be taken seriously; correct?
·3· · · A.· Yes, along with the rest of it.
·4· · · Q.· Did Mr. Simpson -- did you ask Mr. Simpson any
·5· ·questions about the document?
·6· · · A.· I don't believe so.
·7· · · Q.· Did he give you any information about it?
·8· · · A.· I don't believe so.
·9· · · Q.· Had you heard of Aleksej Gubarev before you saw
10· ·The Memo?
11· · · A.· No.
12· · · Q.· Or Webzilla?
13· · · A.· No.
14· · · Q.· Or XBT?
15· · · A.· No.
16· · · Q.· You described yourself as a Luddite; right?
17· · · A.· Yes.
18· · · Q.· So tech people aren't your usual area of
19· ·expertise; is that correct?
20· · · A.· That is very true.
21· · · Q.· How long was the coffee with Mr. Simpson?
22· · · A.· 15 minutes maybe.
23· · · Q.· Did Mr. Simpson tell you why he was giving you
24· ·the last part of The Dossier?
25· · · A.· It was additional information that had been


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·1· ·compiled I believe by Mr. Steele, and they felt that I
·2· ·should have it.
·3· · · Q.· You believed it to be compiled by Mr. Steele
·4· ·himself?
·5· · · A.· I -- yes, I believe it had been.
·6· · · Q.· What is the basis for that belief?
·7· · · A.· Mr. Steele told me that he had additional
·8· ·information he was sending to Mr. Simpson, and it also
·9· ·seemed consistent in its style, writing style, with the
10· ·rest of the document.
11· · · Q.· And did Mr. Simpson tell you that he wanted you
12· ·to give the document to Senator McCain?
13· · · A.· I don't recall if he did.· I don't believe so.
14· · · Q.· Did you understand he wanted you to give the
15· ·document to Senator McCain?
16· · · A.· Yes, I think they gave it to me in order to pass
17· ·along to Senator McCain, but The Senator, as I recall by
18· ·that point, was back in Arizona, the Senate was in
19· ·recess, so I was not in a position to do so.
20· · · Q.· Did Senator McCain know about the meeting, this
21· ·meeting, particular meeting with Mr. Simpson?
22· · · A.· No.
23· · · Q.· Throughout this time period where you were
24· ·interacting with Fusion and Steele about The Dossier,
25· ·were you updating Mr. Brose or The Senator?


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·1· · · A.· Know what, I'm sorry?
·2· · · Q.· Know that Senator McCain had given the document
·3· ·to the FBI?
·4· · · A.· Yes.· Yes.· And I think -- I told him certainly
·5· ·and I think he knew possibly from Mr. Steele as well.
·6· · · · · I can't swear to that, but I think --
·7· · · Q.· What, if anything, did you tell Mr. Bensinger
·8· ·about the seriousness with which you took the
·9· ·allegations in The Dossier?
10· · · A.· I laid out the same three reasons to him as I
11· ·explained a little earlier, which is Mr. Steele's bona
12· ·fides, the behavior of the Russians, and the comments by
13· ·the Trump Campaign.· And I felt that it warranted a
14· ·serious investigation.
15· · · Q.· Did you believe that there was an investigation
16· ·going on at the time?
17· · · A.· The end of December did I believe there was
18· ·investigation going on?· I don't think I knew that there
19· ·was.
20· · · Q.· Did you think there was?
21· · · A.· I thought it was a possibility, but I was not --
22· ·since I had nobody I knew in the FBI, I had no contacts
23· ·there, I was not in a position to know for sure.
24· · · Q.· But you knew McCain had given it to the FBI?
25· · · A.· Correct.


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·1· · · Q.· Do you know currently the status of anything
·2· ·about the government's investigation into the
·3· ·allegations made in The Dossier?
·4· · · A.· Nothing other than what I read in the papers.
·5· · · Q.· You have no personal knowledge other than what's
·6· ·public?
·7· · · A.· Correct.· I don't know anyone at the FBI so I
·8· ·have no inside information.
·9· · · Q.· You mentioned, by the way, that you had spoken to
10· ·Mr. Steele.· Do you know that Mr. Gubarev has sued
11· ·Mr. Steele in London?
12· · · A.· Yes, I am aware of that.
13· · · Q.· Did Mr. Steele tell you that?
14· · · A.· He did, and it had been in the Press.· I had see
15· ·it there.
16· · · Q.· What did he say about it?
17· · · A.· That, you know, he was being sued, and he wasn't
18· ·sure how it was going to play out.
19· · · Q.· On direct-examination, Mr. Fray-Witzer asked you
20· ·a series of questions about if you had ever spoken to
21· ·anyone about Mr. Gubarev or Webzilla or XBT, but he
22· ·didn't ask you about The Government.· Have you ever
23· ·spoken to anyone in The Government about Gubarev, XBT or
24· ·Webzilla?
25· · · A.· No.


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·1· · · Q.· Have you ever spoken to anyone in The Government
·2· ·about The Dossier?
·3· · · A.· Yes.
·4· · · Q.· Can you tell me about that, please.
·5· · · A.· I met with Celeste Wallander, who was the Senior
·6· ·Director for Russian Affairs at the National Security
·7· ·Council.· Someone I have known for many years, who I
·8· ·consider her a friend.
·9· · · · · W-A-L-L -- I don't remember if it's A-N-D-E-R or
10· ·E-N-D-E-R.
11· · · · · And so I did meet with her and asked her about
12· ·it.
13· · · Q.· When was that?
14· · · A.· That was soon after I got back from London.
15· · · Q.· So in early December 2016?
16· · · A.· Correct.· Yes.· Yes.
17· · · Q.· And what made you decide to do that?
18· · · A.· I also met with Victoria Newland who is the
19· ·Assistant Secretary for Europe and Eurasia Affairs.
20· · · · · Senator McCain asked me to meet with both of them
21· ·to see if this was being taken seriously in The
22· ·Government.
23· · · Q.· When was that?· Sorry, when did you meet with
24· ·Wallander?
25· · · A.· Wallander --


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·1· · · Q.· Sorry, early December.
·2· · · A.· Early December, and the same time frame for
·3· ·Newland.
·4· · · Q.· Okay.
·5· · · A.· And after my return from London.
·6· · · Q.· And Senator McCain asked you to meet with them?
·7· · · A.· Yes, just to see if this was being taken
·8· ·seriously.· I think he wanted to do -- this was his kind
·9· ·of due diligence before he went to Director Comey.
10· · · Q.· So in which meeting with Senator McCain did he
11· ·ask you to speak to Wallander and Newland?
12· · · A.· That was I believe it was the meeting on the
13· ·30th.· November 30th when I went to his office.
14· · · Q.· And he said specifically go to these people and
15· ·ask them if it's being taken seriously?
16· · · A.· He mentioned Victoria Newland's name, and then I
17· ·also mentioned Celeste Wallander was someone I knew and
18· ·felt I could trust.
19· · · Q.· And what was your conversation with Victoria
20· ·Newland?
21· · · A.· It was simply she had been aware of it, and she
22· ·thought Steele was a serious person but she wasn't in a
23· ·position herself to judge the veracity of the document.
24· · · Q.· Did she tell you how she had become aware of it?
25· · · A.· No.


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·1· · · Q.· And what else did she say about the fact that she
·2· ·was aware of it?
·3· · · A.· It was a fairly brief conversation.· You know,
·4· ·but that she had heard about it, it was not clear to me
·5· ·whether she had seen it, but that she was aware that the
·6· ·document was out there.
·7· · · Q.· And was being investigated or looked into in some
·8· ·way by her?
·9· · · A.· That she didn't know -- no, by her?
10· · · Q.· By her.· I was going to say I guess she was the
11· ·Secretary of State.
12· · · A.· In the State Department, but she wasn't in a
13· ·position to launch an investigation herself.
14· · · Q.· Right.· Was she aware that the document, for
15· ·example, was being reviewed within the State Department
16· ·or did you not get that level of familiarity?
17· · · A.· I did not get that level.
18· · · Q.· So she told you that she was aware that The
19· ·Dossier was circulating?
20· · · A.· Yes.· Yes.
21· · · Q.· And what else did she say?
22· · · A.· And that she vouched for Steele's bona fides,
23· ·Mr. Steele's bona fides.
24· · · Q.· To whom did she vouch?
25· · · A.· To me.


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·1· · · Q.· Was that in response to a question as in do you
·2· ·know anything about Steele or was she saying --
·3· · · A.· Yes.· I asked.
·4· · · Q.· What did she know about Steele?
·5· · · A.· No, she said that his reputation is strong, and I
·6· ·don't know that she said she knew him personally but
·7· ·that she had heard that he had a good reputation.
·8· · · Q.· Did you show her The Dossier?
·9· · · A.· No.
10· · · Q.· Why not?
11· · · A.· She seemed familiar with it.
12· · · Q.· How could you tell she was familiar with it?
13· · · A.· Because we were talking about the same document.
14· · · Q.· And how about your conversation with
15· ·Ms. Wallander, what happened in that conversation?
16· · · A.· The same.· The same theme.· Just if she was aware
17· ·of this, she had not seen it, and I did show it to her.
18· ·And she also said that she had heard Steele had a good
19· ·reputation.· So it was a similar conversation.
20· · · Q.· Did either Mr. Newland or Ms. Wallander tell you
21· ·why they knew about Steele's reputation?
22· · · A.· Why they knew?
23· · · Q.· Or how?· I mean he is a -- Mr. Steele is a
24· ·retired MI6 agent from London, these are relatively
25· ·sophisticated American State people.· I'm curious if you


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·1· ·know why they knew about some MI6 guy in London?
·2· · · A.· I assumed that they knew who the author of these
·3· ·Memos was, and that based on that they probably heard
·4· ·from various people, and I don't know from whom, that he
·5· ·had a good reputation.
·6· · · Q.· So in other words, they were aware both of the
·7· ·existence of The Dossier and the fact that Chris Steele
·8· ·had written it; correct?
·9· · · A.· Correct.
10· · · Q.· And they believed him to be credible; correct?
11· · · A.· Yes, correct.
12· · · Q.· And all of that happened in early December;
13· ·correct?
14· · · A.· Yes.· I had a subsequent conversation with
15· ·Ms. Wallander in which I gave her a copy of the
16· ·document.· That was probably around New Year's.
17· · · Q.· And I know you said she is a National Security
18· ·Counsel; is that correct?
19· · · A.· Correct, Senior Director.
20· · · Q.· What did she know about the circulation of The
21· ·Dossier in The Government, if anything?
22· · · A.· She had not seen it herself until I had shown it
23· ·to her.· She had heard about it.· And she didn't know
24· ·the status of it.
25· · · Q.· What else did you guys talk about relate --


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·1· ·relevant to The Dossier in that conversation?
·2· · · A.· I informed her that I had given it to Senator
·3· ·McCain, and that Senator McCain had given it to Director
·4· ·Comey.· That was -- it wasn't a whole lot more than
·5· ·that.
·6· · · Q.· Did she comment on that at all?
·7· · · A.· On The Senator McCain part?
·8· · · Q.· Yes.
·9· · · A.· Not that I recall, but it's possible she did but
10· ·I don't recall.
11· · · Q.· So other than Ms. Wallander and Ms. Newland, have
12· ·you had any conversations with anyone in The Government
13· ·about The Dossier?
14· · · A.· No.
15· · · Q.· Did the copy you gave to Ms. Wallander include
16· ·the December Memo, the last two pages?
17· · · A.· Yes.
18· · · Q.· Did you -- did you intend to give the last two
19· ·pages of The Dossier to Senator McCain and he just was
20· ·away?
21· · · A.· Had he been in town, I might have, but I never
22· ·did.
23· · · Q.· Did you ever -- other than so we talked about
24· ·Ms. Wallander, Ms. Newland and a group of reporters.
25· · · · · Other than those people, did you ever share a


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·1· ·copy of The Dossier with anyone else?
·2· · · · · · · MR. FRAY-WITZER:· Objection.
·3· · · · · · · MR. JIMENEZ:· Don't mention anything with
·4· · · · · your lawyers or anybody.· That would be
·5· · · · · privileged.
·6· · · A.· Yes.
·7· ·BY MS. BOLGER:
·8· · · Q.· Obviously I don't want to ask you about your
·9· ·lawyers.· Who cares about lawyers.
10· · · · · But other than lawyers, have you shared a copy of
11· ·The Dossier with anyone?
12· · · A.· I gave a copy to Congressman Adam Kinzinger from
13· ·Illinois.
14· · · Q.· And why did you give a copy to Congressman Adam
15· ·Kinzinger?
16· · · A.· I felt I could trust him, he -- I really got to
17· ·know him at the Halifax meeting, the same Halifax
18· ·meeting he attended, and he strikes me as a very serious
19· ·and honorable person, and I felt that someone on that
20· ·side of Congress should be aware.
21· · · Q.· And when did you do that?
22· · · A.· It would have been after the winter recess, so
23· ·early January.
24· · · Q.· And you said someone on that side of the
25· ·Congress.· And by that side I assume you mean --


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·1· · · A.· The House.
·2· · · Q.· (Continuing.) -- the House of Representatives;
·3· ·correct?
·4· · · A.· Yes.
·5· · · Q.· And why did you think it was important for
·6· ·someone in The House to know?
·7· · · A.· I just felt that someone with what I took to be
·8· ·his reputation of being serious and credible and
·9· ·honorable person should be aware that this document
10· ·exists.
11· · · Q.· Because this is a serious document; correct?
12· · · A.· Yes.
13· · · Q.· And had he heard of The Dossier before you handed
14· ·him a copy?
15· · · A.· No.
16· · · Q.· What was his reaction?
17· · · A.· He read it, and, you know, he thought it raised
18· ·serious concerns, but like me he wasn't in a position to
19· ·vouch for it one way or the other.
20· · · Q.· Do you know what, if anything, he did with it?
21· · · A.· I think he put it in his safe or desk drawer and
22· ·kept it there.· I'm not aware that he did anything
23· ·further with it.
24· · · Q.· Did you ever have a conversation about it?
25· · · A.· Yeah, I stressed to him, I went through the same


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·1· ·three reasons why I felt it needed to be taken
·2· ·seriously.· The bona fides, the Russian behavior, the
·3· ·commentary.· And said that it is also unverified and
·4· ·needed to be corroborated and investigated.
·5· · · Q.· And did he have any responses to that?
·6· · · A.· No, he understood that and said he understood.
·7· · · Q.· So other than the reporters and the three
·8· ·Government officials we have talked about --
·9· · · A.· Yes.
10· · · Q.· (Continuing.) -- is there any other person to
11· ·whom you have handed a copy of The Dossier?
12· · · A.· No.
13· · · Q.· Are there any other people to whom you have
14· ·discussed The Dossier -- with whom you have discussed
15· ·The Dossier?
16· · · A.· No.
17· · · · · Sorry.· I did discuss it with John Burks who is
18· ·the Chief of Staff -- or at that time, sorry, he was
19· ·Chief of Staff to Speaker Ryan.
20· · · Q.· And can you tell me what that conversation was?
21· · · A.· It was strictly I showed him the material, he
22· ·read it, and he didn't have a reaction one way or the
23· ·other.· He just said thank you.
24· · · Q.· And when was that?
25· · · A.· That would have been early January.


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·1· · · Q.· So the Chief of Staff for the Speaker of the
·2· ·House had no reaction to the material?
·3· · · A.· I wasn't looking for one.· I just wanted him to
·4· ·be aware.
·5· · · Q.· Did the Kinzinger copy of The Dossier you gave
·6· ·him include the last two pages?
·7· · · A.· Yes.
·8· · · Q.· Did the copy you showed to John Burks also
·9· ·include the last two pages?
10· · · A.· I believe so.· I don't know if he read it all the
11· ·way through.
12· · · Q.· How come you weren't expecting him to have a
13· ·reaction?
14· · · A.· I don't know.· I don't know.
15· · · Q.· At the beginning of the deposition, Mr. Jimenez
16· ·mentioned that you had done a written submission for the
17· ·Senate Select Committee on Intelligence?
18· · · A.· Yes.
19· · · Q.· I understand you don't want to produce that to me
20· ·today, but can you tell me how that came to pass?
21· · · A.· They contact -- a staffer on the Committee
22· ·contacted Mr. Brose who asked if he could give them my
23· ·information, and I gave him another lawyer who is
24· ·representing me in Washington, his contact information
25· ·and they contacted him.


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